        Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 1 of 15


                                                           u.s. DISTRICT COURT
                                                       DISTRICT OF NEW HAMPSHIRE
                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE             NJ'/ 1 ~ 200a
UNITED STATES OF AMERICA                                        FILED
             v.                         Cr. No. 08-CR-128-01-PB

KURT SANBORN

                              PLEA AGREEMENT

      Pursuant to Rule 11(c) (1) (C) of the Federal Rules of Criminal

Procedure, the United States of America by its attorney, Thomas P.

Colantuono,       the United States Attorney for    the District of New

Hampshire,    and the defendant,    Kurt Sanborn,    and the defendant's

attorneys, Alan Baum and Donald Kennedy, enter into the following

Plea Agreement:

1.   The Plea and The Offense.

      The defendant agrees to waive his right to have this matter to

presented to a grand jury and to plead guilty to an Information

charging him with wire fraud,      in violation of 18 U.S.C. §1343.

2. Elements of the Offense.

     The defendant understands that if the case proceeded to trial

the government would be required to prove each of the following

elements beyond a reasonable doubt:

           First, that a scheme and artifice, substantially as
      charged in the Information, to obtain money by means of
      false or fraudulent pretenses existed;

          Second, that the defendant knowingly and willfully
     participated in the scheme with an intent to defraud; and

          Third, that interstate wire communications, on or
     about the dates alleged, were used in furtherance of the
         Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 2 of 15




     scheme .'

3. Offense Conduct.

     In approximately 2002, Diamond Action, Inc., received
authority to construct a baseball park for a professional minor
league baseball team, the Fisher Cats, in Manchester, New
Hampshire.

     At the time, Diamond Action's owner had a number of other
business responsibilities which demanded a significant amount of
his attention, including his ownership of another professional
minor league baseball team, "The Spinners," in Lowell,
Massachusetts.  Because of those commitments, Diamond Action's
owner delegated a number of tasks related to the construction of
the ball park to a law firm and to the defendant, Kurt Sanborn,
d/b/a The Sanborn Group, Inc. ("SGI").

     In that regard, the defendant was primarily responsible for
collecting invoices from contractors who participated in the
construction of the ball park and submitting the invoices to
Diamond Action's owner.

     with Diamond Action's owner's approval, the law firm paid
the invoices by issuing checks from a checking account that was
established for Diamond Action. The defendant deposited the
checks he received from the law firm to an account he established
for SGI at Enterprise Bank ("SGI' s account") .


          In United States v. Lopez, 71 F.2d 954, 961 (1 st Cir.
1995) (affirmed wire fraud convictions based on documents that
responded to questions about illegal withdrawals that were faxed
more than two years after the illegal withdrawals occurred), the
court explained the "in furtherance requirement of 18 U.S.C.
§1343;

           [Tlhe case law requires that the use of the wires
     must be incident to an essential part of the scheme,
     Pereira v. United States, 347 U.S. 1 (1954), but the
     cases have stretched that concept to include use of the
     wires in attempts to lull the victims into a sense of
     false security, postpone their ultimate complaint to
     the authorities, and therefore make the apprehension of
     the defendants less likely. United States v. Lane, 474
     U.S. 438 (1986).

Lopez, 71 F.2d at 961.

                               Page 2 of    15
          Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 3 of 15




     While performing those duties, the defendant stole $119,500
when he submitted invoices to Diamond Action from two fictitious
contractors, Environmental Solutions and CS Drilling; deposited
the checks that were issued to pay the fraudulent invoices to the
SGI account; and used the proceeds from the deposits for his
personal benefit.

     The defendant stole an additional approximately $164,600
when he submitted counterfeit invoices to Diamond Action from a
contractor, Derry Engineering, for services that were not
performed; deposited the checks that were issued to pay the
counterfeit invoices to the SGI account; and used the proceeds
from the deposits for his personal benefit.

     The defendant also stole approximately $9,450 when he
submitted a legitimate $53,450 invoice to Diamond Action from
another company, Kimball Chase; deposited the check that was
issued to pay that invoice to the SGI account; issued a check in
the amount $44,000 to Kimball Chase; and used the remaining funds
for his personal benefit.

     In 2004, Diamond Action's owner hired a law firm to
determine whether money that was deposited to Diamond Action's
bank account had been misused. During the investigation, the law
firm asked the defendant to provide documentation to prove he
made the following payments on behalf of Diamond Action:

                Payee                        Amount of Payment

     Environmental Solutions                    $24,665.00
     Environmental Solutions                     $8,655.00
     Derry Engineering                          $13,600.00
     Kimball-Chase                              $54,000.07
     Harvey Construction                        $11,081.90

     The defendant responded to that inquiry on February 20,
2004, by causing copies of the following four fraudulent checks ­
which were not delivered to the payees - to be sent by facsimile
from his office in Rhode Island to the law firm's office in New
Hampshire:

Date of            Check
 Check             Number            Payee                   Amount of Check

03/20/03           1430      Environmental solutions             $24,665.00
05/09/03           1496      Derry Engineering                   $13,600.00
05/09/03           1497      Environmental Solutions              $8,665.00
08/08/08           1877      Kimball-Chase                       $54,000.00

                                Page 3 of     15
             Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 4 of 15




       The defendant understands that the maximum penalties for the

offenses are:

       A.       A prison term of twenty (20) years;

        B.      A fine of    $250,000, 18 U.S.C. §357I(b) (3); or not
                more than    the greater of twice the gross gain or
                twice the    gross loss caused by the offense; see 18
                U.S.C. §§    3571 (d) ;

        C.      A possible additional fine to pay the costs to the
                government of any imprisonment,       probation or
                supervised release ordered. See U.S.S.G. §5El.l(I);

       D.       A mandatory special assessment of $100.00, which
                the defendant agrees to pay at or before the time
                of sentencing; and

       E.       A term of supervised release of not more than five
                (5) years. The defendant understands that failure
                to comply with any of the conditions of supervised
                release may result in revocation of supervised
                release, requiring the defendant to serve in prison
                all or part of the term of supervised release, with
                no credit for time already spent on supervised
                release. See 18 U.S.C. §3583(b) (1).

5.     Sentencing and Application of the Sentencing Guidelines.

       The defendant understands that the Sentencing Reform Act of

1984    applies       in   this    case and   that     the   Court   is   required   to

consider       the    United      States   Sentencing    Guidelines       as   advisory

guidelines.          The defendant further understands that he has no right

to withdraw his guilty plea if the applicable advisory guideline

range or his sentence is other than what he anticipated, except as

expressly provided in this Plea Agreement.

       The defendant also understands that the government and the


                                      Page 4 of   15
          Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 5 of 15




United States Probation Office shall:

     A.      Advise the Court of any additional, relevant facts
             that are presently known or may subsequently come
             to their attention;

     B.      Respond to questions from the Court;

     C.      Correct any inaccuracies                  in   the pre-sentence
             report; and/or

     D.      Respond to any statements made by the defendant or
             the defendant's counsel to a probation officer or
             to the Court.

     The    defendant understands          that    the United States and the

Probation     Office     may     address   the     Court     with    respect   to   an

appropriate sentence to be imposed in this case.

     The defendant        is aware     that any estimate of            the probable

sentence or the probable sentencing range relating to him pursuant

to the advisory Sentencing Guidelines that he may have received

from any source is only a prediction and not a promise, and is not

binding on the United States, the Probation Office, or the Court,

except as expressly provided in this Plea Agreement.

6.   Sentence and Government's Sentencing Recommendation.

      Pursuant     to     Fed.    R.   Crim.      P.11 (c) (1) (C)    and   U.S.S.G.

§2Bl.l(b) (1) (G),      the government and the defendant agree that the

amount of the loss that was caused by the offenses was greater than

$200,000 and less than $400,000.

      By using the word "binding",               the parties mean that if the

Court cannot or will not accept the stipulation, the defendant will

be permitted to withdraw his guilty plea.                   The defendant will not

                                   Page 5 of      15
          Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 6 of 15




be allowed to withdraw his guilty plea for any other reason.

        The defendant understands that government may contend that

other sentencing enhancements should be applied to this case, and

the defendant is free to object to them.

        Except as otherwise provided in this Agreement, the government

shall    not        request   an    upward          departure      or    variance       from     the

applicable advisory guideline sentencing range, as determined by

the sentencing court.

        The defendant shall not request a downward departure, but may

request a downward variance from the applicable advisory guideline

sentencing range, as determined by the sentencing court.

        The     government         and        the    defendant          are     free    to      make

recommendations regarding terms of imprisonment, fines, conditions

of   supervised          release         or     probation,         and    other        penalties,

requirements and conditions of sentencing as each party may deem

lawful        and     appropriate,            unless     such        recommendations             are

inconsistent with the terms of this Plea Agreement.

7.   Acceptance of Responsibility.

        The    United     States         agrees       that    it    will       not     oppose     an

appropriate reduction in the defendant's adjusted offense level,

under     the       advisory       Sentencing          Guidelines,            based    upon      the

defendant's apparent prompt recognition and affirmative acceptance

of personal responsibility for the offense.                              The United States,

however, may oppose any adjustment for acceptance of responsibility


                                         Page 6 of       15
           Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 7 of 15




and withdraw from this Plea Agreement if the defendant:

      A.      Fails to admit a complete factual basis for the
              plea at the time he is sentenced or at any other
              timej

      B.      Challenges the United States' offer of proof at any
              time after the plea is entered;

      C.      Denies involvement in the offense;


      D.      Gives conflicting statements about that involvement
              or is untruthful with the Court, the United States
              or the Probation Office;

      E.      Fails to give complete and accurate information
              about his financial status to the Probation Office;

      F.      Obstructs or attempts to obstruct justice, prior to
              sentencing;

      G.      Has engaged in conduct prior to signing this Plea
              Agreement which reasonably could be viewed as
              obstruction or an attempt to obstruct justice, and
              has failed to fully disclose such conduct to the
              United States prior to signing this Plea Agreement;

      H.      Fails to appear in court as required;

      1.      After signing this Plea Agreement,               engages in
              additional criminal conduct; and/or

      J.      Attempts to withdraw his guilty plea.

      If    the   sentencing     court   determines     that   the   defendant's

offense level is sixteen or greater and the             defendant has assisted

the   government      in   the   investigation     or    prosecution    of   the

defendant's own misconduct by timely notifying the government of

his intention to enter a plea of guilty,              thereby permitting the

government to avoid preparing for trial and permitting the United

States and the Court to allocate their resources efficiently, and

                                 Page 7 of    15
         Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 8 of 15




the government will move, at or before sentencing, to decrease the

defendant's base offense level by an additional one level pursuant

to U.S.S.G. § 3EI.l(b).

     The defendant understands and agrees that he may not withdraw

his guilty plea if, for any of the reasons listed above, the United

States   does   not   recommend that   he   receive   a   reduction     in his

sentence for acceptance of responsibility.

     The defendant also understands and agrees that the Court is

under no obligation to reduce the offense level if it finds that

the defendant has not accepted responsibility.

8. Substantial Assistance.

     If the defendant provides substantial assistance in the

investigation or prosecution of another person who has committed

an offense,     the United States may file a motion pursuant to

U.S.S.G. §5Kl.l and 18 U.S.C. §3553(e) advising the sentencing

Court of all relevant facts pertaining to that determination and

requesting the Court to sentence the defendant in light of the

factors set forth in §5Kl.l(a) (1)-(5).

     The defendant understands that the determination of whether

to file such a motion rests solely with the United States.               This

means that the Unlted States mayor may not file a motion under

U.S.S.G. §5Kl.l or 18 U.S.C. §3553(e).           The decision whether to

file such a motion will depend on the United States' evaluation

of any assistance provided by the defendant.           The defendant also

                               Page 8 of    15
           Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 9 of 15




understands that even if such a motion is filed,            the Court is

under no obligation to grant or act          favor~bly   upon the motion.

It is understood that the sentence to be imposed on the defendant

remains within the discretion of the sentencing Court.

9. Use of Certain Information.

      Provided the defendant gives truthful, accurate and complete

information, the United States agrees that, pursuant to U.S.S.G.

§   lBI.8Ia), any self-incriminating information provided by the

defendant which was not known by the government, or which the

government could not establish by a preponderance of the evidence

at the time of the defendant's briefings, shall not be used in

determining the defendant's advisory guideline range.              This Plea

Agreement is subject to the        §   1Bl.8(b) exceptions and reserves to

the government the ability to make derivative use of the

defendant's statements.

10.   Waiver of Trial Rights and Consequences of Plea.

      The defendant understands that he has the right to be

represented by an attorney at every stage of the proceeding and,

if necessary, one will be appointed to represent him.              The

defendant understands that he has the right:

      A.      To plead not guilty or to maintain that plea if it
              has already been made;

      B.      To be tried by a jury and, at that trial, the
              right to the assistance of counsel;

                                 Page 9 of    15
           Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 10 of 15




      C.      To confront and cross-examine witnesses against
              him;

      D.      Not be compelled to provide testimony that may
              incriminate him; and

      E.      To compulsory process for the attendance of
              witnesses to testify in his defense.


      The defendant understands that by pleading guilty he waives

and gives up those rights and that if a plea of guilty is

accepted by the Court, there will not be a trial of any kind.

      The defendant understands that if he pleads guilty, the

Court may ask him questions about the offense, and if he answers

those questions falsely under oath, on the record, and in the

presence of counsel, his answers may later be used against him in

a prosecution for perjury or making false statements.

11.   Acknowledgment of Guilt; Voluntariness of Plea.

      The defendant acknowJedges that he:

      A       Is entering into this Plea Agreement and is
              pleading guilty freely and voluntarily because he
              is guilty;

      B.      Is entering into this Plea Agreement without
              reliance upon any discussions with the government
              and without promise of benefit of any kind except
              as described in this Plea Agreement;


      C.      Is entering into this Plea Agreement without
              threats, force, intimidation, or coercion of any
              kind;



                                 Page 10 of    15
           Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 11 of 15




      D.      Understands of the nature of the offense to which
              he is pleading guilty, including the penalties
              provided by law; and


      E.       Is completely satisfied with the representation
               and advice received from his undersigned attorney.


12.   Scope of Agreement.

      The defendant acknowledges and understands that this Plea

Agreement is limited to the undersigned parties and cannot bind

any other federal authority, or any state or local authority.

      The defendant acknowledges that no representations have been

made to him with respect to any civil or administrative

consequences that may result from his pleas of guilty, because

such matters are solely within the discretion of the specific

administrative or government agency inVOlved.             Finally, the

defendant acknowledges that this Plea Agreement has been reached

without regard to any civil tax matters that may be pending or

which may arise involving him.

13.   Collateral Consequences.

      The defendant understands that he will be adjUdicated guilty

of the offenses to which he will plead guilty and may thereby be

deprived of certain federal benefits and certain rights, such as

the right to vote, to hold public office, to serve on a jury, or

to possess firearms.




                                 Page 11 of    15
           Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 12 of 15




14.   Satisfaction of Federal Criminal Liability; Breach.

      The defendant's guilty plea, if accepted by the Court, will

satisfy any federal criminal liability of the defendant in the

District of New Hampshire as a result of his participation in the

conduct which forms the basis of the Information in this case.

The defendant understands that if, before sentencing, he violates

any term or condition of this Plea Agreement, engages in any

criminal activity, or fails to appear for sentencing, the

government may consider such conduct to be a breach of the Plea

Agreement and may withdraw from it.

15. Waivers.

      A.      Appeal and Collateral Review.

      The defendant is aware that he has the right to challenge

his sentence and guilty plea on direct appeal.             He is also aware

that he may, in some circumstances, be able to argue that his

guilty pleas should be set aside, or his sentence be set aside or

reduced, in a collateral challenge (such as pursuant to a motion

under 28 U.S.C.      §   2255 or   §   2241).

      By entering into this Plea Agreement, the defendant

knowingly and voluntarily waives any right to appeal or to

collaterally challenge:

              1.    His guilty pleas and any other aspect of his
                    convictions, including, but not limited to,
                    any rulings on pretrial suppression motions


                                   Page 12 of   15
          Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 13 of 15




                   or any other pretrial dispositions of motions
                   and issues; and


             2.    The imposition by the Court of a sentence
                   which does not exceed the sentence
                   recommended by the United States, even if the
                   Court rejects one or more positions advocated
                   by the U.s. Attorney or defendant with regard
                   to the application of the advisory Sentencing
                   Guidelines.


     The defendant's waiver of rights to appeal and to bring

collateral challenges shall not apply to appeals or challenges

based on new legal principles in First Circuit or Supreme Court

cases decided after the date of this Plea Agreement which are

held by the First Circuit or Supreme Court to have retroactive

effect.     The defendant's waiver of the right to collateral review

also does not extend to claims that the plea was unknowing or

involuntary or to claims that he received ineffective assistance

of counsel    ~n   the negotiation of the plea or plea agreement.

     This Plea Agreement does not affect the rights or

obligations of the United States as set forth in 18 U.S.C.                §

3742(b), and the United States therefore retains its appeal

rights.

     B.      Freedom of Information and Privacy Acts.

     The defendant hereby waives all rights, whether asserted

directly or by a representative, to request or receive from any

department or agency of the United States any records pertaining


                               Page 13 of    15
        Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 14 of 15




to the investigation or prosecution of this case, including

without limitation any records that may be sought under the

Freedom of Information Act, 5 U.S.C. §552, or the Privacy Act of

1974, 5 U.S.C. §522a.

16.    No Other Promises.

      The defendant acknowledges that no other promlses,

agreements, or conditions have been entered into other than those

set forth in this Plea Agreement or revealed to the Court, and

none will be entered into unless set forth in writing, signed by

all parties, and submitted to the Court.

17.   Final Binding Agreement.

      None of the terms of this Plea Agreement shall be binding on

the United States until this P"ea Agreement is signed by the

defendant and the defendant's attorney and by the United States

Attorney for the District of New Hampshire, or an Assistant

United States Attorney.

18.   Agreement Provisions Not Severable.

      The United States and the defendant understand and agree

that if any provision of this Plea Agreement is deemed invalid or

unenforceable, then the entire Plea Agreement is null and void

and no part of it may be enforced.




                             Page 14 of    15
        Case 1:08-cr-00128-SM Document 8 Filed 11/12/08 Page 15 of 15




Thomas Colantuono
United States Attorney


By:                                      Dated:
      Robert M. Kinsella
      Assistant U.S. Attorney

     The defendant, Kurt Sanborn, certifies that he has read this
IS-page Plea Agreement and that he fully understands and accepts



2tZL
Kurt Sanborn, Defendant
                                         D"ed,     ~(Or
     I have read and explained this fifteen IS-page Plea
Agreement to the defendant, Kurt Sanborn, and he has advised me
that he understands and accepts ito terms.


                                         Dated:
Alan Baum, Esq.
Attorney for Kurt Sanborn

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Donald Kennedy,   ~---­
Attorney for Kurt Sanborn




                              Page 15 of    IS
